         Case 17-33936 Document 46 Filed in TXSB on 09/29/17 Page 1 of 2




                    IN THE UNITED STATES BANK RUPTCY COURT
                      FO R T H E SO U TH E RN DISTR IC T O F TEX AS
                                  HO USTON DIVISION                                    ENTERED
                                                                                       10/02/2017

                                                 j
In re:                                           j
                                                 j
DAVID CORONA,                                           Case N o.17-33936
                                                 j
Debtor.                                          j      Chapter13

 ORDER REOUIRING TROY M OUTON TO PERSONALLY APPEAR IN CO URT TO
 G IV E FU R TH ER TESTIM O N Y C O N CER M N G TH E PRO PER TY LO CA TED A T 802
                SA N DFO R D L O D G E D R IV E,H O U ST O N .TEU S 77073
                                        IDoc.No.11
         On Septem ber 27,2017,this Courtheld a hearing in the above-referenced Chapter 13

case.Troy Mouton (ttM outon'')testifiedthathereceivedapproximately$8,000from M s.Yadira
Gonzalez (çtGonzalez'). M outon testified that he received $3,000 as compensation for his
services,and theremaining $5,000 wasdistributed am ong severalthird party vendors.TheCourt
Wants M outon,when he next appears in court on October 12,2017,to bring with him any

documentation he hasin hispossession (including receiptsand written contracts)forthe third
party vendors associated with services rendered for Gonzalez.M outon also testified thathe is

em ployed by a sole proprietorship doing business as Am erican N eighborhood Home Solution.

Further,he testifed thattheownerofAmerican Neighborhood is Seidy Bautista (çfBautista'').
The Courtwants M outon to furnish a11telephone num bers and addresses for Bautista. ltis

therefore

         ORDERED thatthehearing shallbe held on Thursday,October 12,2017,at 10:00 A.M .

in Courtroom 600,6th Floor,Bob Casey FederalCourthouse,515 Rusk Street,H ouston,Texas;

and itisfurther
           Case 17-33936 Document 46 Filed in TXSB on 09/29/17 Page 2 of 2



           ORDERED thatM outon shallbring with him to thishearing any docum entation hehasin

hispossession (including receipts and written contracts)forthe third party vendors;and itis
further

           ORDERED thatM outon shallfurnish alltelephone numbers and addressesforBautista;

and itisfurther

           ORDERED that at the hearing on October 12,2017, M outon will bring with him a

certified check orcashier'scheck for $310.00 m ade payable to the Clerk ofCourtforthe past
due filing fee thathe owes forthe banknzptcy case thathe filed forthis case in 2015;and itis

ftzrther

           ORDERED that the Clerk of Courtshall send a copy of this order to M outon atthe

followinge-mailaddress:TCHB@me.com.



Signed on this29th day ofSeptember,2017.




                                            JeffBohm
                                            United StatesBanknmtcy Judge
